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JAMES DEAKINS,

Plaintiff,
VS.
WAL-MART STORES EAST LP
a Foreign Limited Partnership,
d/b/a Walmart #2176, and;
MARY WESTER

Defendants.

 

IN THE CIRCUIT COURT OF THE 157
JUDICIAL CIRCUIT IN AND FOR
PALM BEACH COUNTY, FLORIDA

GENERAL JURISDICTION DIVISION

Case No. I HLA ")

COMPLAINT FOR DAMAGES

Plaintiff, JAMES DEAKINS, by and through the undersigned counsel, files this

Complaint for Damages against Defendant, WAL-MART STORES EAST LP, a Foreign Limited

Partnership d/b/a Walmart #2176, and; MARY WESTER, and alleges as follows:

JURISDICTIONAL AND IDENTIFICATION OF PARTIES

1. This is a cause of action which exceeds the minimum jurisdictional limits of this

Court, to wit Thirty Thousand Dollars ($30,000.00), exclusive of interest and costs.

2. At all times material, the Plaintiff, JAMES DEAKINS, was and is a resident of Palm

Beach County, Florida.

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3. At all times material, Defendant, WAL-MART STORES EAST LP, a Foreign Limited
Partnership, d/b/a Walmart #2176, (hereinafter “WALMART”) was and is a duly organized
foreign limited partnership, transacting business throughout the State of Florida, including Palm
Beach County, Florida.

4. At all times material and at the time of the incident complained of, Defendant, MARY
WESTER, was an employee, agent or apparent agent of the Defendant, WALMART; and is a
resident of Palm Beach County, Florida.

FACTS COMMON TO ALL COUNTS

5. This is a personal injury claim arising out of a slip and fall incident occurring on
March 9, 2019 at a WALMART store owned, leased, managed, operated, maintained, inspected,
and/or controlled by the Defendant, WALMART.

6. The subject property is located at 2144 W. Indiantown Rd., Jupiter, Palm Beach

County, Florida. -

7. On March 9, 2019, Plaintiff, ‘JAMES DEAKINS, was a business invitee and patron
of Defendant, WALMART, and was lawfully on the premises.

8. On the above alleged date, Plaintiff; JAMES DEAKINS, after entering Defendant’s
retail store he slipped and fell on a poorly maintained and slippery surface as a result of the
defendant’s negligence causing serious and permanent injuries and damages as more specifically

alleged hereinafter.

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COUNT I

PREMISE LIABILITY CLAIM AGAIN ST WALMART

Plaintiff adopts and realleges the allegations contained in paragraphs 1 through 7 as
though fully set forth herein and further alleges:

9: At all times material, Defendant, WALMART, was charged with the responsibility,
care, Management, inspection and maintenance of the aforementioned property, including the
floor ateas adjacent to the storefronts doorways leading into the subject Walmart store, and had a
duty to care for and maintain said- premises in a reasonably safe condition, which would be free
from hazards and dangers so as not to cause injuries to business invitees and members of the
public and, in particular, the Plaintiff, JAMES DEAKINS.

10. Notwithstanding said duties, Defendant, WALMART, by and through its employees
and/or agents acting within the course and scope of their employment and/or agency, breached
said duty to maintain said premises in‘a reasonably safe condition by allowing unreasonably
dangerous, defective’ and unsafe condition to exist as specifically alleged below, by committing
one of more of the following negligent acts of omission and/or commission::

(a) Negligently inspected and maintained the area were the subject incident occurred at

Defendant’s Walmart store;

(b) Negligently inspected and maintained the areas of ingress and egress at the subject

Defendant’s store; ot

(c) Negligently failed to maintain its storefront doorways and related flooring in a reasonably

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safe manner;

(d) Negligently failed to use appropriate floor mats for the circumstances thereby creating a
foreseeable slip hazard to shoppers and other business invitees, including the Plaintiff
herein;

(e) Negligently failed to provide any warnings for the public, and particularly to the Plaintiff,
of the existence of the aforementioned unsafe and hazardous slippery conditions;

-(f) Negligently failed to provide appropriate safeguards to mitigate against the risk of slip
and fall hazards in view of the circumstances, including but not limited to, the weather

- forecast, rain, slippery and unsafe floor conditions at the doorways and adjacent areas,

slick flooring, and lack of adequate overhead canopies and safety matts; and,

(g) Negligently allowed the aforementioned dangerous and unsafe conditions, to remain
on the property without taking sufficient steps to correct such dangerous and hazardous
conditions.

1]. At all times material, Defendant, WALMART, by and through its employees and/or
agents, acting within the course and scope of their employment and/or agency, knew or should
have known that such.dangerous and unsafe conditions existed and that same exposed the public,
and in particular, the Plaintiff, JAMES DEAKINS to physica) and bodily harm.

12. As a direct and proximate result of the aforesaid negligence of Defendant,
WALMART, Plaintiff, JAMES DEAKINS, suffered bodily injuries, pain and suffering,

, disability, disfigurement, scarring, deformity, mental anguish, inconvenience, loss of capacity for
the enjoyment of life, medical expenses, hospital expenses, rehabilitation expenses, aggravation

of pre-existing disease, affliction of mental distress, anxiety, loss of earnings, loss of work time,

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loss of earning capacity, and all other damages allowable under Florida law. Plaintiff, JAMES
DEAKINS has suffered such losses and damages in the past, and will continue to suffer such
losses and damages in the future.

WHEREFORE, Plaintiff, JAMES DEAKINS demands judgment for compensatory
damages against Defendant, WAL-MART STORES EAST LP., together with taxable costs
incurred herein.

Plaintiff hereby demands jury trial on all issues so triable.

COUNT II

NEGLIGENCE CLAIM AGAINST MARY WESTER

Plaintiff adopts and realleges the allegations contained in paragraphs 1 through 7 as
though fully set forth herein and further alleges:

13. At all times material, Defendant, MARY WESTER, as an agent and/or employee of
Defendant, WALMART, was charged with the responsibility, care, management, inspection and
maintenance of the aforementioned property, including the areas in and around. the storefronts
doorways leading into the subject Walmart store, and had a duty to care for and maintain said
premises in a reasonably safe condition, which would be free from hazards and dangers so as not
to cause injuries to business invitees and members of the public and, in particular, the Plaintiff,
JAMES DEAKINS.

14. Notwithstanding said duties, Defendant, MARY WESTER, while acting within the

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course and scope of her employment and/or agency with Defendant, WALMART, breached said
duty to maintain said premises in a reasonably safe condition by allowing unreasonably
dangerous, defective and unsafe condition to exist as specifically. alleged below, and by
committing one of more of the-following negligent acts of omission and/or commission:

(a) Negligently inspected and maintained the area were the subject incident occurred at
Defendant’s Walmart store;

(b) Negligently inspected and maintained the areas of ingress and egress at the subject
Defendant’s store; .

(c) Negligently failed to maintain its storefront doorways and related flooring in a reasonably
safe manner;

(d) Negligently failed to use appropriate floor mats for the circumstances thereby creating a
foreseeable slip hazard to shoppers and other business invitees, including the Plaintiff
herein;

(e) Negligently failed to provide any. warnings for the public, ‘and particularly to the Plaintiff,
of the existence of the aforementioned unsafe and hazardous slippery conditions;

(f) Negligently failed to provide appropriate safeguards to mitigate against the risk of slip
and fall hazards in view of the circumstances, including but not limited to, the weather
forecast, rain, slippery wet floor conditions at the doorways and adjacent areas, slick
flooring, and lack of adequate overhead canopies and safety matts; and,

(g) Negligently allowed the aforementioned dangerous and unsafe conditions to remain on
the property without taking sufficient steps to correct such dangerous and hazardous

conditions.

15. At all times material, Defendant, MARY WESTER, knew or should have known

that such dangerous and unsafe conditions existed and that same exposed the public, and’ in
particular, the Plaintiff, JAMES DEAKINS to physical and bodily harm.

16. As a direct and proximate result of the aforesaid negligence of Defendant, MARY
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WESTER, Plaintiff, JAMES DEAKINS., suffered bodily injuries, pain and suffering, disability,
disfigurement, scarring, deformity, mental anguish, inconvenience, loss of ‘capacity for the
enjoyment of life, medical expenses, hospital expenses, rehabilitation expenses, aggravation of
pre-existing disease, affliction of mental distress, anxiety, loss of earnings, loss of work time,
loss of earning capacity, and all other damages allowable under Florida law. Plaintiff, JAMES
DEAKINS has suffered such losses and damages-in the past, and will continue to suffer such
losses and damages in the future.

WHEREFORE, Plaintiff, JAMES DEAKINS demands judgment for compensatory
damages against Defendant, MARY WESTER., together with taxable costs incurred herein. .

Plaintiff hereby demands jury trial on all issues so triable.

COUNT III

NEGLIGENCE CLAIM AGAINST WALMART

Plaintiff, JAMES DEAKINS adopts and re-alleges the allegations contained in

paragraphs 1 through 7, as though fully set forth herein and further alleges:

17. Atall times material hereto, Defendant, WALMART as patt of its
‘operations, activities and services hired, trained, managed and supervised employees and/or
agents to maintain and keep its premises in reasonably safe condition for patrons entering and
leaving the subject Walmart store.

18. Atall times material hereto, Defendant, WALMART, had a duty to

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exercise reasonable care in performing all activities and operations related to managing,
supervising, and operating a retail store, including the management of the areas of ingress and
egress and to provide reasonably safe storefront entranceways in view of foreseeable inclement
weather conditions and pedestrian traffic that could make such areas of the Defendant’s store
slippery, hazardous and unsafe. Defendant, WALMART, also had a duty to exercise reasonable
care to provide appropriate policies, procedures and rules related to the management and
maintenance of the areas of ingress and egress so as to make such areas reasonably safe and free
from hazards and dangers so as not to cause injuries to foreseeable store patrons, and in
particular, Plaintiff, JAMES DEAKINS. ;

19. At all material times here to, Defendant, WALMART acting through its
employees and/or agents, breached its duty to exercise reasonable care in performing the
activities and operations related to managing, maintaining, supervising, and operating a retail
store and in particular managing the areas of ingress and egress, by committing one or more of
the following negli gent acts of omission and/or commission:

a. Negligently allowed store patrons to use a’ store entrance when it knew or
should’ ve known that due to weather, or other foreseeable circumstances, such

areas were or could become hazardous and unsafe due to slippery conditions;

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. Negligently trained or failed to adequately train staff regarding maintenance and

‘safety of the store’s entranceways;

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Negligently failed to have adequate and appropriate policies, rules and procedures
regarding the management and safe operations of the stores entranceways and

adjacent ingress and egress areas regarding hazard or unsafe conditions;

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a.

. Negligently failed to provide adequate canopy or similar coverage to mitigate

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against'weather conditions causing the stores entranceways and adjacent
ingress and/or egress areas to become hazardous and/or unsafe; and,

e. Negligently failed to manage and properly supervise the Defendant’s employees
and/or agents to take remedial actions when hazardous and unsafe conditions
exist;

f. Negligently failed to supervise employees to comply, and otherwise enforce,

safety protocols designed to protect customers from foreseeable slip hazards;

and,

g. Was otherwise negligent in its responsibility to exercise reasonable care in the

management of its operations, employees and/or agents.

20. At all times material hereto, Defendant, WALMART, by and through its
employees and/or agents, acting within the course and scope of their employment and/or agency,
knew or should have known that such negligent failures as alleged hereinabove, would subject

store patrons, and in particular, Plaintiff, JAMES DEAKINS to physical and bodily harm.

21. Asa direct and proximate result of the aforesaid negligence of Defendant,
WALMART, Plaintiff, JAMES DEACON., suffered bodily injuries, pain and suffering,
disability, disfigurement, scarring, deformity, mental anguish, inconvenience, loss of capacity for
the enjoyment of life, medical expenses, hospital expenses, rehabilitation expenses, aggravation
of pre-existing disease, affliction of mental distress, anxiety, loss of earnings, loss of work time,
loss of earning capacity, and all other damages allowable under Florida law. Plaintiff, JAMES

DEAKINS has suffered such losses and damages in the past, and will continue to suffer such

losses and damages in the future.

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WHEREFORE, Plaintiff, JAMES DEAKINS demands judgment for compensatory
damages against Defendants, WAL-MART STORES EAST LP and MARY WESTER, together

with taxable costs incurred herein.

Plaintiff hereby demands jury trial on all issues so triable.

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